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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig               *     MDL No. 2179
“Deepwater Horizon” in the Gulf               *
of Mexico on April 20, 2010                   *     SECTION: J
                                              *
This Document Relates to:                     *     JUDGE BARBIER
Case No. 2:10-CV-02771                        *
                                              *     MAGISTRATE SHUSHAN
                                              *
*   *   *   *   *   *    *   *   *    *   *   *




            MEMORANDUM OF LAW IN SUPPORT OF MOTION OF
               DEFENDANT MOEX USA CORPORATION TO
               DISMISS DRIL-QUIP, INC.’S CROSS-CLAIMS




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          MOEX USA Corporation (“MOEX USA”) respectfully submits this

memorandum in support of its motion to dismiss the cross-claim of third-party defendant

Dril-Quip, Inc. (“Dril-Quip”) pursuant to Federal Rule of Civil Procedure 12(b)(6), for

failure to state a claim upon which relief may be granted.1

                                              ARGUMENT

    DRIL-QUIP’S CROSS-CLAIM FAILS TO STATE A CLAIM UPON WHICH
           RELIEF CAN BE GRANTED AS AGAINST MOEX USA

          On May 20, 2011, Dril-Quip asserted a cross-claim against MOEX USA for

contribution. See Third Party Defendant Dril-Quip, Inc.’s Cross-Claims [Rec. Doc.

2467] (“Cross-Claim”). The Cross-Claim does not include any specific allegations of

fault, contractual liability or statutory liability against MOEX USA. MOEX USA was

not a party to the Macondo Prospect Offshore Deepwater Operating Agreement

(“Operating Agreement”). MOEX USA’s subsidiary MOEX Offshore 2007 LLC

(“MOEX Offshore”) was a party to that contract, but MOEX USA was not. See

Operating Agreement, Preamble (identifying parties).2 Thus, MOEX USA was not even

one of the well’s owners, let alone its operator.



1
    This motion is directed at the pleading pursuant to Rule 12(b)(6) and, as such, accepts all well-pleaded
    allegations as true. Should the case proceed, MOEX USA reserves its right to bring forth evidence to
    refute the allegations against it.
2
    Dril-Quip’s cross-claims reference the substance of the Operating Agreement as the basis for Dril-
    Quip’s claims. See Cross-Claims ¶¶33-35. Therefore, MOEX Offshore may refer to the relevant
    provisions of the Operating Agreement in this motion to dismiss. See In re Katrina Canal Breaches
    Litig., 495 F.3d 191, 205 (5th Cir. 2007); Ferrer v. Chevron Corp., 484 F.3d 776, 781 n.13 (5th Cir.
    2007); Kane Enters. v. MacGregor (USA) Inc., 322 F.3d 371, 374 (5th Cir. 2003); Collins v. Morgan
    Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000). A copy of the Operating Agreement was
    attached as an exhibit to Anadarko Petroleum Corporation's Form 8-K, filed with the U.S. Securities and
    Exchange Commission on June 21, 2010, and separately as Exhibit A to the Memorandum of Law in
    Support of Motion of Defendant Anadarko Petroleum Corporation and others to Dismiss First Amended
    Master Complaint, Cross-Claim and Third-Party Complaint for Private Economic Losses in Accordance
    with PTO No. 11 [CMO. No. 1] Section III (B1) Pursuant to Fed. R. Civ. P. 12(b)(6) [Rec. Doc. 1414-
    1]. The portions of the Operating Agreement referred to herein can be found in those filings.
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          Instead, the Cross-Claim alleges only that “[t]he Plaintiffs/Claimants purportedly

named Moex USA as a party because it serves as part of the corporate construct through

which Moeco [an apparent reference to MOEX USA’s parent company] owns,

dominates, controls and benefits from the activities of MOEX Offshore.” Cross-Claim

¶36.

          Such a general, conclusory allegation does not suffice, under federal pleading

standards, to support a claim against a parent corporation for its subsidiary’s alleged

obligations. See Ashcroft v. Iqbal, __ U.S. __, 129 S.Ct. 1937, 1949-50 (2009); Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, , 556-57, 127 S.Ct. 1955, 1964-66 (2007);

Court–Appointed Receiver Of Lancer Offshore, Inc. v. The Citco Group Ltd, No. 05–

60055–CIV., 2011 WL 1232986, *6-7 (S.D. Fla. Mar. 30, 2011) (applying Iqbal and

Twombly to veil-piercing claims; rejecting “conclusory” allegations that subsidiary was

“alter ego” or “mere instrumentality” of parent); Haley Paint Co. v. E.I. DuPont de

Nemours and Co., __ F. Supp.2d __, 2011 WL 1298257, *8 (D. Md. Mar. 31, 2011)

(applying Iqbal and Twombly to veil-piercing allegations and dismissing complaint

against parent corporation).

          We are aware of no authority that a corporation’s separate legal existence may be

disregarded solely on the ground that it is part of a “corporate construct” with other

companies.3 Indeed, where (as here) there has been no determination of liability, no

assessment of damages (if any), and no determination that the liable party cannot pay,


3
    Cf. Wallace v. Wood, 752 A.2d 1175, 1183 (Del. Ch. 1999) (“Persuading a Delaware court to disregard
    the corporate entity is a difficult task.”; claimant must show “complete domination and control” over
    subsidiary) (citation omitted); New Orleans Jazz & Heritage Found., Inc. v. Kirksey, 40 So.2d 394, 407
    (La. Ct. App. 2010) (“Louisiana has a strong policy of favoring the recognition of the corporation’s
    separate existence, such that ‘[p]iercing the corporate veil is considered a radical remedy employed only
    in exceptional circumstances.’”) (quoting Town of Haynesville, Inc. v. Entergy Corp., 956 So. 2d 192,
    198 (La. Ct. App. 2007)).


                                                      2
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even well-pleaded allegations of veil-piercing would not present a justiciable

controversy. See, e.g., Schattner v. Girard, Inc., 668 F.2d 1366, 1369 (D.C. Cir. 1981)

(per curiam) (“[I]t was only when it became clear that Girard could not make good on the

arbitration award that the issue of veil-piercing became ripe for consideration.”).4

          In any event, Dril-Quip’s underlying contribution allegations – even if they

applied to MOEX USA – are insufficient and must be dismissed. MOEX USA hereby

adopts and incorporates the arguments in the Memorandum of Law in Support of Motion

of Defendant MOEX Offshore 2007 LLC to Dismiss Third-Party Defendant Dril-Quip,

Inc.’s Cross-Claims, filed contemporaneously herewith. As set forth in that

Memorandum with respect to MOEX Offshore, (i) Dril-Quip’s contribution claim fails as

to the claims of the Bundle B1 and C Plaintiffs because the OPA displaces general

maritime law contribution claims for OPA covered damages; and (ii) Dril-Quip’s

contribution claim fails because Dril-Quip fails to allege any fault on the part of MOEX

Offshore. The same points hold true for MOEX USA, and with greater force.

Accordingly, the Cross-Claim should be dismissed as against MOEX USA for failure to

state a claim upon which relief can be granted.




4
    Accord, e.g., Monumental Life Insurance Co. v. Executive Risk Specialty Insurance Co., Civ. No. 99-
    2676, 2000 U.S. Dist. LEXIS 14150, at *5 (E.D. La. Sept. 20, 2000) (liability claims based on an alter
    ego theory “simply are not ripe/justiciable” because the liability of the underlying subsidiary had yet to
    be determined, and therefore addressing the merits of the alter ego claim would “constitute a prohibited
    advisory opinion”); Nissho Iwai Corp. v. Mizushima Marinera S.A., Case No. 95-3771, 1996 WL
    904562 at *5 (D.N.J. April 23, 1996) (declining to determine alter ego issue because “it would be
    premature to adjudicate the issue because the question of Mizushima’s liability remains to be determined
    by arbitration. If Mizushima is found not to be liable, then the alter ego issue would be moot.
    Moreover, if Mizushima is found liable, then the alter ego issue would only need to be resolved if
    Mizushima lacked sufficient assets to cover the arbitral award.”).


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                                   CONCLUSION

        For the foregoing reasons, Dril-Quip’s cross-claim against MOEX USA must be

dismissed in its entirety.

Dated: June 20, 2011

                                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Pre-trial Order No. 12, I have caused the

foregoing to be served on all counsel via the Lexis Nexis File & Serve system, and that

the foregoing was electronically filed with the Clerk of Court of the United States District

Court for the Eastern District of Louisiana by using the CM/ECF system, who will send a

notice of electronic filing in accordance with the procedures established in MDL 2179, on

June 20, 2011.




                                             s/ _Jack McKay                    ____
                                                 Jack McKay




                                             5
